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                                    ORDERED.


 Dated: June 09, 2017




                    IN THE UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION
                               www.flmb.uscourts.gov


In the Matter of:
                                                       CASE No. 9-16-bk-10583-FMD
SEMINOLE TRACKS, INC.                                  Chapter 11
                                          Debtor(s)/

                     ORDER GRANTING MOTION TO DISMISS

       THIS CASE came on for consideration at a hearing on June 8, 2017, on the Motion to

Dismiss (Doc #17), filed by Dennis Perkins dba Perkins Construction. For the reasons stated

orally on the record in open court, which constitute the decision of the Court, it is

       ORDERED:

       1.      The Motion to Dismiss is hereby granted, and the case is dismissed.

       2.      The Debtor shall have ten days from the entry of the order in which to pay

quarterly fees to the United States Trustee pursuant to 28 U.S.C. § 1930.

       3.      The Court reserves jurisdiction to hear all fee applications of the Debtor’s

professionals, and address any remaining obligation to pay fees to the United States

Trustee. The Court shall consider the final fee applications of the Debtor’s professionals
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upon service thereof to parties in interest with fourteen (14) days negative notice

following the filing of amended and supplemented applications by such professionals.

          4.         The automatic stay is terminated and all presently scheduled hearings are

canceled.


Diane L. Jensen is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and to file a proof of service within three (3) days of entry of the
order
80093.006


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